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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                            Case No. 1:19−cr−117

   v.                                          Hon. Robert J. Jonker

LARRY CHARLES INMAN,

         Defendant.
                                         /



                            NOTICE OF HEARING


TAKE NOTICE that a hearing has been rescheduled as set forth below:

                      Arraignment
Type of hearing(s):   First Appearance
                      Initial Pretrial Conference
                      May 28, 2019 02:00 PM
Date/Time:            (previously set for May 29, 2019)
Magistrate Judge:     Phillip J. Green
Place/Location:       601 Federal Building, Grand Rapids, MI




                                         PHILLIP J. GREEN
                                         U.S. Magistrate Judge

Dated: May 21, 2019               By:     /s/ Angie L. Doezema
                                         Courtroom Deputy
